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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF VIRGINIA
                                     Alexandria Division


 BMG RIGHTS MANAGEMENT                          )
 (US) LLC, and ROUND HILL                       )
 MUSIC LP                                       )
                                                )
                Plaintiffs,                     )
                                                )
        v.                                      )       Case No. 1:14-cv-1611(LO/JFA)
                                                )
 COX ENTERPRISES, INC.,                         )
 COX COMMUNICATIONS, INC.,                      )
 COXCOM, LLC                                    )
          Defendants.                           )
                                                )


       DECLARATION OF MICHAEL J. ALLAN IN SUPPORT OF PLAINTIFFS’
       OPPOSITION TO DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT


 I, Michael J. Allan, declare as follows:

 1. I am a partner at Steptoe & Johnson LLP, counsel to Plaintiffs BMG Rights Management

    (US) LLC and Round Hill Music LP (“Plaintiffs”) in the above-referenced matter. I make

    this Declaration in support of BMG Rights Management (US) LLC and Round Hill Music

    LP’s Opposition to Defendants’ Motion for Summary Judgment.

 2. Attached hereto as Allan Exhibit 1 are true and correct copies of excerpts from the transcript

    of Jason Zabek’s June 2, 2015 deposition.

 3. Attached hereto as Allan Exhibit 2 are true and correct copies of excerpts from the transcript

    of Randall Cadenhead’s June 9, 2015 deposition.

 4. Attached hereto as Allan Exhibit 3 are true and correct copies of excerpts from the transcript

    of Neil Gillis’ July 22, 2015 deposition.



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 5. Attached hereto as Allan Exhibit 4 are true and correct copies of excerpts from the transcript

    of Keith Hauprich’s July 31, 2015 deposition.

 6. Attached hereto as Allan Exhibit 5 are true and correct copies of excerpts from the transcript

    of Roger Vredenburg’s July 28, 2015 deposition.

 7. Attached hereto as Allan Exhibit 6 is a true and correct copy of a document marked as

    Exhibit 4 from the May 20, 2015 deposition of Joseph Sikes.

 8. Attached hereto as Allan Exhibit 7 is a true and correct copy of a document produced by

    Cox in this litigation as COX_BMG00181863 and marked as Exhibit 19 from the May 20,

    2015 deposition of Joseph Sikes.

 9. Attached hereto as Allan Exhibit 8 is a true and correct copy of a document produced by

    Cox in this litigation as COX_BMG00006385 and marked as Exhibit 20 from the May 20,

    2015 deposition of Joseph Sikes.

 10. Attached hereto as Allan Exhibit 9 is a true and correct copy of a document produced by

    Cox in this litigation as COX_BMG00006383 and marked as Exhibit 23 from the May 20,

    2015 deposition of Joseph Sikes.

 11. Attached hereto as Allan Exhibit 10 is a true and correct copy of a document produced by

    Cox in this litigation as COX_BMG00218908 and marked as Exhibit 5 from the June 2, 2015

    deposition of Jason Zabek.

 12. Attached hereto as Allan Exhibit 11 is a true and correct copy of a document produced by

    Cox in this litigation as COX_MG00021635 and marked as Exhibit 10 from the June 2, 2015

    deposition of Jason Zabek.




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 13. Attached hereto as Allan Exhibit 12 is a true and correct copy of a document produced by

    Cox in this litigation as COX_BMG00151444 and marked as Exhibit 11 from the June 2,

    2015 deposition of Jason Zabek.

 14. Attached hereto as Allan Exhibit 13 is a true and correct copy of a document produced by

    Cox in this litigation as COX_BMG00209134 and marked as Exhibit 14 from the June 2,

    2015 deposition of Jason Zabek.

 15. Attached hereto as Allan Exhibit 14 is a true and correct copy of a document produced by

    Cox in this litigation as COX_BMG00199746 and marked as Exhibit 25 from the June 2,

    2015 deposition of Jason Zabek.

 16. Attached hereto as Allan Exhibit 15 is a true and correct copy of a document produced by

    Rightscorp in this litigation as RHTS23136139 and marked as Exhibit 27 from the June 2,

    2015 deposition of Jason Zabek.

 17. Attached hereto as Allan Exhibit 16 is a true and correct copy of a document produced by

    Rightscorp in this litigation as RGHTS12453044 and marked as Exhibit 28 from the June 2,

    2015 deposition of Jason Zabek.

 18. Attached hereto as Allan Exhibit 17 is a true and correct copy of a document produced by

    Cox in this litigation as COX_BMG00207428 and marked as Exhibit 29 from the June 2,

    2015 deposition of Jason Zabek.

 19. Attached hereto as Allan Exhibit 18 is a true and correct copy of a document produced by

    Cox in this litigation as COX_MG00190183 and marked as Exhibit 31 from the June 2, 2015

    deposition of Jason Zabek.




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 20. Attached hereto as Allan Exhibit 19 a true and correct copy of a document produced by Cox

    in this litigation as COX_BMG00181871 and marked as Exhibit 3 from the July 28, 2015

    deposition of Roger Vredenburg.

 21. Attached hereto as Allan Exhibit 20 is a true and correct copy of a document produced by

    Cox in this litigation as COX_BMG00181440 and marked as Exhibit 10 from the July 28,

    2015 deposition of Roger Vredenburg.

 22. Attached hereto as Allan Exhibit 21 is a true and correct copy of a document produced by

    Cox in this litigation as COX_BMG00103791 and marked as Exhibit 14 from the July 28,

    2015 deposition of Roger Vredenburg.

 23. Attached hereto as Allan Exhibit 22 is a true and correct copy of a document marked as

    Exhibit 8 from the June 9, 2015 deposition of Randall Cadenhead.

 24. Attached hereto as Allan Exhibit 23 is a true and correct copy of a document marked as

    Exhibit 9 from the June 9, 2015 deposition of Randall Cadenhead.

 25. Attached hereto as Allan Exhibit 24 is a true and correct copy of Cox Communications,

    Inc.’s First Supplemental Responses to Plaintiffs’ First Set of Interrogatories (Nos. 1-11),

    served March 25, 2015.

 26. Attached hereto as Allan Exhibit 25 is a true and correct copy of Cox Communications,

    Inc.’s Third Supplemental Responses to Plaintiffs’ First Set of Interrogatories (Nos. 3 and 5),

    served July 24, 2015.

 27. Attached hereto as Allan Exhibit 26 is a true and correct copy of a document produced by

    Cox in this litigation as COX_BMG00180000 and marked as Exhibit 24 at the June 2, 2015

    deposition of Jason Zabek.




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 28. Attached hereto as Allan Exhibit 27 is a true and correct copy of a document produced by

    Cox in this litigation as COX_BMG00222667.

 29. Attached hereto as Allan Exhibit 28 is a true and correct copy of a document produced by

    Cox in this litigation as COX_BMG00181426.

 30. Attached hereto as Allan Exhibit 29 is a true and correct copy of a document produced by

    Cox in this litigation as Sullivan00002576.

 31. Attached hereto as Allan Exhibit 30 is a true and correct copy of a document produced by

    Rightscorp in this litigation as RGHTS00000689.

 32. Attached hereto as Allan Exhibit 31 is a true and correct copy of a document produced by

    Rightscorp in this litigation as RGHTS00001548.

 33. Attached hereto as Allan Exhibit 32 is a true and correct copy of a document produced by

    Rightscorp in this litigation as RGHTS00001549.

 34. Attached hereto as Allan Exhibit 33 is a true and correct copy of a document produced by

    Rightscorp in this litigation as RGHTS00003924.

 35. Attached hereto as Allan Exhibit 34 is a true and correct copy of a document produced by

    Rightscorp in this litigation as RGHTS00004447.

 36. Attached hereto as Allan Exhibit 35 is a true and correct copy of a document produced by

    Rightscorp in this litigation as RGHTS00004451.

 37. Attached hereto as Allan Exhibit 36 is a true and correct copy of a document produced by

    Rightscorp in this litigation as RGHTS00004452.

 38. Attached hereto as Allan Exhibit 37 is a true and correct copy of a document produced by

    Cox in this litigation as COX_BMG00004554.




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 39. Attached hereto as Allan Exhibit 38 is a true and correct copy of a document produced by

    Cox in this litigation as COX_BMG00008066.

 40. Attached hereto as Allan Exhibit 39 is a true and correct copy of a document produced by

    Cox in this litigation as COX_BMG00147710.

 41. Attached hereto as Allan Exhibit 40 is a true and correct copy of a document produced by

    Cox in this litigation as COX_BMG00164035.

 42. Attached hereto as Allan Exhibit 41 is a true and correct copy of a document produced by

    Cox in this litigation as COX_BMG00184735.

 43. Attached hereto as Allan Exhibit 42 is a true and correct copy of a document produced by

    Cox in this litigation as COX_BMG00188943.

 44. Attached hereto as Allan Exhibit 43 is a true and correct copy of a document produced by

    Cox in this litigation as COX_BMG00209880.

 45. Attached hereto as Allan Exhibit 44 is a true and correct copy of a document produced by

    Cox in this litigation as COX_BMG00143226 and marked as Exhibit 16 at the July 17, 2015

    deposition of Linda Trickey.

 46. Attached hereto as Allan Exhibit 45 is a true and correct copy of Exhibit D of the July 31,

    2015 Christopher Rucinski Supplemental Expert Report.

 47. Attached hereto as Allan Exhibit 46 are true and correct copies of documents produced by

    Cox in this litigation as COX_BMG00221808, COX_BMG00221181, COX_BMG00221214,

    COX_BMG00220653, COX_BMG00220686, COX_BMG00220785, and

    COX_BMG00221775 and a true and correct copy of a document marked as Exhibit 9 from

    the August 13, 2015 deposition of William Basquin.




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 48. Attached hereto as Allan Exhibit 47 are true and correct copies of examples of copyright

    infringement notices sent to Cox in 2014 and produced by Rightscorp as RGHTS17116798,

    RGHTS17833167, RGHTS17891360, RGHTS19474985, and RGHTS20217378.

 49. Attached hereto as Allan Exhibit 48 are true and correct copies of examples of copyright

    infringement notices sent to Cox in 2013 and produced by Rightscorp as RGHTS12234051,

    RGHTS13759512, RGHTS13868854, RGHTS14126040, and RGHTS15276889.

 50. Attached hereto as Allan Exhibit 49 is a true and correct copy of a document produced by

    Cox in this litigation as COX_BMG00213513.

 51. Attached hereto as Allan Exhibit 50 is a true and correct copy of a letter sent from Marybeth

    Peters, Register of Copyrights, to Howard L. Berman on September 25, 2002.

 52. Attached hereto as Allan Exhibit 51 is a true and correct copy of a document produced by

    Cox in this litigation as SULLIVAN00002520.

 53. Attached hereto as Allan Exhibit 52 is a true and correct copy of excerpts from the transcript

    of Joseph Sikes’ May 20, 2015 deposition.

 54. Attached hereto as Allan Exhibit 53 is a true and correct copy of Cox Communications’

    Objections and Responses to Plaintiffs’ Sixth Set of Interrogatories (Nos. 21 - 24), served

    August 13, 2015.

 55. Attached hereto as Allan Exhibit 54 is a true and correct copy of a document produced by

    Cox in this litigation as COX_BMG00199556 and marked as Exhibit 26 at the June 2, 2015

    deposition of Jason Zabek.

 56. Attached hereto as Allan Exhibit 55 is a true and correct copy of a document produced by

    Cox in this litigation as COX_BMG00007962 and marked as Exhibit 18 at the June 2, 2015

    deposition of Jason Zabek.



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 57. Attached hereto as Allan Exhibit 56 is a true and correct copy of a document produced by

    Cox in this litigation as COX_BMG00181434.

 58. Attached hereto as Allan Exhibit 57 is a true and correct copy of a document produced by

    Cox in this litigation as COX_BMG00207596 and marked as Exhibit 34 at the May 20, 2015

    deposition of Joseph Sikes.

 59. Attached hereto as Allan Exhibit 58 is a true and correct copy of a document produced by

    Cox in this litigation as COX_BMG00004624 and marked as Exhibit 27 at the July 17, 2015

    deposition of Linda Trickey.

 60. Attached hereto as Allan Exhibit 59 is a true and correct copy of a document produced by

    Cox in this litigation as COX_BMG00147710 and marked as Exhibit 6 at the August 12,

    2015 deposition of Ryan Sullivan.

 61. Attached hereto as Allan Exhibit 60 is a true and correct copy of a document produced by

    Cox in this litigation as COX_BMG00148905.

 62. Attached hereto as Allan Exhibit 61 is a true and correct copy of a document produced by

    Cox in this litigation as COX_BMG00180285 and marked as Exhibit 36 from the May 20,

    2015 deposition of Joseph Sikes.

 63. Attached hereto as Allan Exhibit 62 is a true and correct copy of certain pages of the website

    www.reddit.com produced by BMG in this litigation as BMG00013284.

 64. Attached hereto as Allan Exhibit 63 is a true and correct copy of certain pages of the website

    www.reddit.com produced by BMG in this litigation as BMG00013177.

 65. Attached hereto as Allan Exhibit 64 is a true and correct copy of certain pages of the website

    www.reddit.com produced by BMG in this litigation as BMG00012278.




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 66. Attached hereto as Allan Exhibit 65 is a true and correct copy of a document produced by

    Cox in this litigation as COX_BMG00213162 and marked as Exhibit 6 at the June 2, 2015

    deposition of Jason Zabek.

 67. Attached hereto as Allan Exhibit 66 is a true and correct copy of certain pages of the website

    www.reddit.com produced by BMG in this litigation as BMG00013156.



 I declare under penalty of perjury that the above facts are true to the best of my knowledge.


 Washington, D.C
 October 13, 2015




                               ___________________________
                               Michael J. Allan
                               Counsel for Plaintiffs




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                                  CERTIFICATE OF SERVICE

          I hereby certify that on October 13, 2015, I electronically filed a true and correct copy of
  the foregoing using the Court’s CM/ECF system, which then sent a notification of such filing
  (NEF) to all counsel of record:

  Craig C. Reilly (VSB No. 20942)
  craig.reilly@ccreillylaw.com



                                                  /s/ Jeremy Engle
                                                Jeremy D. Engle (VSB No. 72919)
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